      Case 1:20-cr-00077-RJA-HKS Document 18 Filed 08/25/20 Page 1 of 3




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA,

                             Plaintiff,                           20-CR-77A

v.

PAUL E. LUBIENECKI,

                             Defendant.



                                           ORDER

              Section 3161(h)(1)(H) of Title 18, U.S.C. permits the exclusion of 30

days once a motion is taken “under advisement” by the court. A motion is taken under

advisement “once the court has everything it expects from the parties prior to making its

decision”. United States v. Piteo, 726 F.2d 50, 52 (2d Cir.), cert. denied, 466 U.S. 905

(1984); United States v. Bufalino, 683 F.2d 639, 642-44 (2d Cir. 1982), cert. denied,

459 U.S. 1044 (1983). In this case, that occurred with respect to the defendant’s

motion and a motion hearing at which time the Court took the matter under advisement.



              I have reviewed the defendant’s motion papers, memoranda/affidavits,

and the papers submitted on behalf of the government, in some detail and have made

substantial progress toward a decision on the motions. It now appears that full

consideration of the motions will take time beyond the 30 day advisement period and

that “it is always open to [the court] to find that the interest of justice is best served by

granting a continuance under 18 USC § 3161(h)(7) for the excess period”. United
      Case 1:20-cr-00077-RJA-HKS Document 18 Filed 08/25/20 Page 2 of 3




States v. Bufalino, 683 F.2d at 645 (citation omitted).



              Therefore, on the basis of my findings that the motions are complex, that

the Court is currently engaged in an examination of the several issues presented by the

motions, and further upon my findings that the interest of justice in a continuance

overrides the defendant’s and public’s interest in a speedy trial, a continuance is

granted pursuant to 18 USC § 3161(h)(7)(A) from August 22, 2020 to September 21,

2020 for the purpose of rendering a decision.



              This order “puts defense counsel on notice that the speedy trial clock has

been stopped,” and it ensures that, “[i]f for any reason counsel believes that [an

exclusion] is inappropriate, an objection may be raised and a record made” of the

objection. United States v. Tunnesen, 763 F.2d 74, 78 (2d Cir. 1985); see also United

States v. Kiszewski, 877 F.2d 210, 215 (2d Cir. 1989) (prosecutors are responsible

along with the court in paying attention to Tunnesen.)




                                            -2-
      Case 1:20-cr-00077-RJA-HKS Document 18 Filed 08/25/20 Page 3 of 3




                                    CONCLUSION

             The foregoing constitutes a decision and order pursuant to 28 U.S.C.

§ 636(b)(1)(A), and the Speedy Trial Act.



             SO ORDERED.



                                        S/ H. Kenneth Schroeder, Jr.
                                        H. KENNETH SCHROEDER, JR.
                                        United States Magistrate Judge


Dated:       Buffalo, New York
             August 25, 2020




                                            -3-
